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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                         MIAMI DIVISION

                                     CASE NO.: 1:10-cv-23685-JAL

  THE PALM BAY YACHT CLUB
  CONDOMINIUM ASSOCIATION, INC.,

                 Plaintiff,

  v.

  QBE INSURANCE CORPORATION,

                 Defendant.

  ___________________________________/

  DEFENDANT’S MOTION IN LIMINE TO PRECLUDE TESTIOMONY OF PLAINTIFF’S
    EXPERT WITNEES PAUL NORCIA, OR IN THE ALTERNATIVE, MOTION FOR
      DAUBERT HEARING AND INCORPORATED MEMORANDUM OF LAW

        Defendant, QBE INSURANCE CORPORATION (“QBE”), hereby files its Motion
  in Limine to Preclude Testimony of Plaintiff’s Expert, Paul Norcia, or in the alternative,
  Motion to Strike and/or Motion for Daubert Hearing, as follows:

        1.       This matter arises out of a claim for Hurricane Wilma damage under the
  commercial property insurance policy number QF2047-10 which Defendant QBE
  INSURANCE CORPORATION (hereinafter “QBE”) issued to Plaintiff PALM BAY
  YACHT CLUB CONDOMINIUM ASSOCIATION, INC. (“Palm Bay”), insuring Plaintiff’s
  condominium building.
        2.       On June 27, 2011, Palm Bay’s Expert Witness Disclosures listed Paul
  Norcia (“Norcia”) as one of its expert witnesses and stated:
                 Mr. Norcia will offer expert opinions consistent with those set
                 forth in his report and estimate produced contemporaneously
                 with these disclosures, include the repair and replacement of
                 portions of the PBYC Building (“insured building”) various
                 components and cost, as well as the actual cash value of the
                 loss and damage to the insured building from Hurricane
                 Wilma. The estimate losses will include damages to:
                 windows, doors; interior water damage; and roofing. Mr.


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                 Norcia’s general opinion is that the cost to repair and replace
                 the hurricane damage to the subject building as well as the
                 actual cash value of the hurricane damage exceed the QBE
                 Policy’s deductible of $804,400.        Mr. Norcia’s specific
                 opinions are contained in his report. His opinions are based
                 on, among other things, his background, training, and
                 experience in the insurance industry, the opinions of Dr.
                 Anurag Jain and Jeff Dobbins of TSSA Storm Safe, custom
                 and practice in the insurance industry, his review of the QBE
                 policy, his review of documents produced during discovery in
                 this case, as well as his personal inspection and
                 investigation of the insured building and its components and
                 unit owner witness interviews. Mr. Norcia’s qualifications
                 are attached to his report.

  [D.E. 34].
         3.      Mr. Norcia’s role was to estimate the value of the damages associated
  with the hurricane. See deposition of Paul Norcia dated August 24, 2011 at p. 4, ln. 14-
  18, attached as Exhibit “A”.
         4.      His June 26, 2011 Estimate A 1 has a total cost to replace the property
  damage to the Palm Bay property of $8,562,183.26. This is broken down to include the
  following:
                 Glass glazing and storefront windows                             $ 113,881.78

                 Heat, Vent & Air Conditioning (“HVAC”)                           $ 324,301.97
                 Roofing                                                          $ 513,428.30
                 Windows – Aluminum                                               $1,682,399.17

                 Windows – Sliding Patio Doors                                    $1,733,641.64

         5.      Mr. Norcia’s opinions go beyond estimating the cost to repair or replace
  and actually extends into determining the cause of alleged damage as well as whether a
  specific component of damage, in particular windows and sliding glass doors, can be
  repaired or needs to be replaced.
         6.      Mr. Norcia’s opinions regarding causation and whether a component
  should be repaired or replaced fail to meet the basic requirements of Federal Rule of

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    Mr. Norcia prepared two estimates; “A” excludes “matching” for undamaged items whereas “B”
  includes it.


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  Evidence 702 which governs expert testimony. Mr. Norcia is not qualified to testify
  competently regarding the matters he intends to address nor is the methodology by
  which he reaches his conclusions sufficiently reliable under Daubert 2.
           7.       QBE respectfully requests the Court preclude and/or limit Mr. Norcia’s
  testimony as to causation and whether an item can be repaired or needs to be replaced.
  In the alternative, QBE requests a Daubert hearing be granted.


                                                MEMORANDUM OF LAW
        I. GENERAL RULES OF EXPERT TESTIMONY

           “The district court has broad discretion in determining whether to admit or
  exclude expert testimony, and its decision will be disturbed on appeal only if it is
  manifestly erroneous.” Evans v. Mathis Funeral Home, 996 F.2d 266, 268 (11th Cir. Ga.
  1993), citing Salem v. United States Lines Co., 370 U.S. 31, 35, 82 S. Ct. 1119, 1122, 8
  L. Ed. 2d 313 (1962); and Polston v. Boomershine Pontiac-GMC Truck, Inc., 952 F.2d
  1304, 1309 (11th Cir.1992). “To warrant or permit the use of expert testimony, two
  conditions must be met: first, the subject matter must be closely related to a particular
  profession, business or science and not within the common knowledge of the average
  layman; second, the witness must have such skill, experience or knowledge in that
  particular field as to make it appear that his opinion would rest on substantial foundation
  and would tend to aid the trier of fact in his search for truth.” Faircloth v. Lamb-Grays
  Harbor Co., 467 F.2d 685, 694 (5th Cir. 1972)(citations omitted).
                    “While Rule 702 permits the trial court to admit expert
                    testimony if it will ‘assist the trier of fact’ and thus somewhat
                    broadens the range of admissibility, it by no means
                    mandates admission of such testimony.” United States v.
                    Lopez, 543 F.2d 1156, 1158 (5th Cir. 1976). “Rule 702
                    compels the district court to perform the critical 'gatekeeping'
                    function concerning the admissibility of expert evidence. This
                    function inherently requires the trial court to conduct an
                    exacting analysis of the foundations of expert opinions to
                    ensure they meet the standards of admissibility under Rule
                    702. This objective is to ensure the reliability and relevance

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      Daubert v. Merrell Dow Pharms., 509 U.S. 579 (1993).


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                 of the expert testimony.” United States v. Dean, 221 Fed.
                 Appx. 849, 851 (11th Cir. Ga. 2007)(internal citations
                 omitted).

         When determining the admissibility of expert testimony under Rule 702, a court
  engages in a three-part inquiry. The court:
                 must consider whether: (1) the expert is qualified to testify
                 competently regarding the matters he intends to address; (2)
                 the methodology by which the expert reaches his
                 conclusions is sufficiently reliable as determined by the sort
                 of inquiry mandated in Daubert; and (3) the testimony assists
                 the trier of fact, through the application of scientific,
                 technical, or specialized expertise, to understand the
                 evidence or to determine a fact in issue. While there is
                 inevitably some overlap among the basic requirements --
                 qualification, reliability, and helpfulness -- they remain
                 distinct concepts and the courts must take care not to
                 conflate them.

  United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. Ga. 2004)(internal citations
  omitted). With regard to the reliability standard set forth in Rule 702, the United States
  Supreme Court held:
                 The subject of an expert's testimony must be "scientific . . .
                 knowledge." The adjective "scientific" implies a grounding in
                 the methods and procedures of science. Similarly, the word
                 "knowledge" connotes more than subjective belief or
                 unsupported speculation. The term "applies to any body of
                 known facts or to any body of ideas inferred from such facts
                 or accepted as truths on good grounds."

  Daubert v. Merrell Dow Pharms., 509 U.S. 579, 590 (U.S. 1993). The Eleventh Circuit
  has held that the importance of Daubert’s gatekeeping requirement cannot be
  overstated. In Frazier, the Court held:
                 As the Supreme Court framed it in Kumho Tire: "the
                 objective of that requirement is to ensure the reliability and
                 relevancy of expert testimony. It is to make certain that an
                 expert, whether basing testimony upon professional studies
                 or personal experience, employs in the courtroom the same
                 level of intellectual rigor that characterizes the practice of an
                 expert in the relevant field."




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  Frazier, 387 F.3d at 1260, citing Kuhmo Tire 526 U.S. at 152.


        II. Mr. Norcia is not competent to testify whether a particular component of
            the building can be repaired or has to be replaced.

            Mr. Norcia’s testimony reveals that he does not have the requisite expertise to
  provide expert testimony regarding repair recommendations to windows, sliding glass
  doors, roof and/or the HVAC unit.                      Mr. Norcia testified that he is neither an air
  conditioner expert (Exh. “A” at p. 74, ln. 19-20) nor a licensed roofer (Exh. “A” at p. 72,
  ln. 24-25). Recently, Mr. Norcia testified in trial that:
                     Q. You are not a window expert, per se, correct?
                     A. Correct.
                     Q. In fact, I believe you candidly testified earlier that you
                        have no window installation or repair experience, right?
                     A. Correct.

  Ocean View Towers Association, Inc. v. QBE Insurance Corporation, Case 11-60447-
  CIV-SCOLA, January 5, 2012 trial transcript at p. 163, ln. 2-6, attached as Exhibit “B”.
  He further testified that “[he does not] know a lot about cooling towers…” Exh. “B” at p.
  194, ln.15-22. Nor is he a licensed general contractor 3 and he has little to no personal
  experience with roofs and windows:
                     Q. Do you have any experience in replacing windows in
                        South Florida upon which you base your opinions…
                     A. I’ve never replaced a window in South Florida personally.

  Exh. “C” at p. 52, ln. 17-21 4. Furthermore, Mr. Norcia is not a licensed public adjuster in
  Florida. Exh. “C” at 73, ln. 13-15.
            Mr. Norcia’s replacement cost estimate centers on his determination of the need
  to replace certain windows, sliding glass doors, fixed windows, roofing and HVAC.
  [D.E. 34]. In fact, he opines that every single window and sliding glass door damaged
  must be replaced and none can be repaired. Mr. Norcia admittedly does not have
  personal experience or qualifications in window repair, design or installation.                                  He


  3
      See Mr. Norcia’s deposition dated August 23, 2011 at p. 28, ln 17-18, attached as Exhibit “C”.
  4
      See also Mr. Norcia’s deposition dated January 3, 2012 at p. 77, ln. 9-11, attached as Exhibit “D”.



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  therefore lacks the competency to offer expert opinions as to whether a window, sliding
  glass door or fixed window can be repaired or must be replaced.
         Notably, while Mr. Norcia’s estimates provide that certain windows and doors
  within the condominium must be completely replaced, Mr. Norcia admits that he did not
  actually make that specific determination for any unit:
                 Q. Did you come to any conclusions on your own about
                    whether or not the windows could be replaced – I mean
                    repaired as opposed to replaced?
                 A. On my own?
                 Q. Yes.
                 A. I – no, not on my own.

  Exh. “A” at p. 46, ln. 6-11. Instead, Mr. Norcia states that he relied on TSSA Storm
  Safe’s (“TSSA”) suggestion that all the windows had to be replaced. Exh. “A” at p. 45,
  11-25 and p. 46, ln. 1-5. However, TSSA did not opine as to whether any windows
  required replacement instead of repairs:
                 Q. Well, you’re only looking for the condition, the various
                    conditions that you observed. Correct?
                 A. Correct.
                                           * * *
                 Q. You do not determine causation of a condition?
                 A. Correct.

  Deposition of Jeff Dobbins dated September 19, 2011 at p. 32, ln. 5-7, 21-22, attached
  as Exhibit “E”.        As noted, Mr. Norcia’s estimate required full replacement of all
  windows included; however, when asked to explain why they could not be repaired or
  comment on what components were damaged such that full replacement was
  necessary, he testified that he could not tell from looking at his notes. Exh. “A” at p. 48,
  ln 5-8. Furthermore, Mr. Norcia purportedly relies on glass bids from Continental Glass
  and Northern Reconstruction Services to arrive at the figures in his estimate. Exh. “A”
  at p. 18, ln. 8-10. However, he never questioned these contractors about whether or
  not replacement parts could be obtained in order to support his expert opinion that
  complete window replacement is required. Exh. “A” at p. 18, ln. 15-19. Accordingly, Mr.
  Norcia has no basis for his opinion that every damaged window at Palm Bay must be
  replaced as a result of Hurricane Wilma.



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         With regard to his opinion that the roof requires full replacement, Mr. Norcia
  again testified that he relied on other experts’ opinions and figures. Specifically, he
  advised that he relied upon Mr. Swaysland’s report/replacement protocol, Certified
  Roofing Specialists and American Caribbean Testing. Exh. “A” at p. 12, ln. 17-21; p. 15,
  ln. 21-25; and p. 16, ln. 1-15. But none of those reports state the roof requires complete
  replacement. Further, Mr. Norcia testified that he did not take any notes regarding the
  damages he observed to the roof and did not conduct a core sample to support his
  opinions. Exh. “A” at p. 71, ln. 16-18 and p. 72, ln. 8-10.
         With regard to his opinion as to cost, Mr. Norcia testified the price he used for the
  roof came from Certified Roofing Specialists.                     Inexplicably, however, his estimate
  exceeds that proposal’s number.               In attempting to explain the increase, Mr. Norcia
  replied that he relied on an “in-house [accounting] document” for the damages, but that
  document has never been produced. Exh. “A” at p. 26, ln. 7-18.
         Similarly, Mr. Norcia also fails to support his expert opinion regarding the
  determination that the air handlers in the HVAC section of the estimate were not
  repairable:
                 Q. Who made the determination that the air handlers were
                    not repairable?
                 A. Both myself and Cool Breeze.
                 Q. And how did you make that determination?
                 A. Again, based – based on comments from Cool Breeze.
                    Based on comments of the Association.

  Exh. “A” at p. 74, ln. 9-14. While Mr. Norcia deferred to Cool Breeze in order to opine
  that full replacement of the HVAC was necessary, he has no basis for same as he
  acknowledged Cool Breeze recommended full replacement, not because of storm
  damage, but because “it would not be cost effective to…try to effect repairs to these
  units.” Exh. “A” at p. 74, ln. 21-25 and p. 75, ln. 1-6.
         The above testimony clearly reflects that Mr. Norcia is not qualified to render an
  opinion as to what needs to be repaired or replaced. Furthermore, he did not invoke
  proper, reliable methodologies in reaching his opinions in compliance with the Rules of
  Evidence or federal law.           Under Frazier, Mr. Norcia did not engage in the type of
  “intellectual rigor” that characterizes the practice of an expert in the relevant field. As


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  such, his testimony regarding causation and whether or not purportedly damaged items
  require replacement, should be precluded.
     III. Mr. Norcia is not qualified nor is there competent evidence for him to rely
          on to render an opinion as to causation of the damages.

         Mr. Norcia’s estimates comprise his opinions. He has prepared two estimates,
  one containing replacement and actual cost values with regard to matching and the
  other without regard to matching. However, rather than limiting his opinions to cost, he
  attempts to opine as to causation of damages as well. Mr. Norcia testified:
                 Q. Have you ever been qualified to provide an expert
                    opinion as to the causation of roof damage in any court?
                 A. No.

  Exh. “A” at p. 71, ln. 16-18. In this matter he testified that his opinion that the windows
  and sliding glass doors were damaged by Hurricane Wilma (i.e. causation) is based on
  TSSA. Exh. “A” at p. 45, 11-25, p. 46, ln. 1-5. However, TSSA did not perform an
  investigation into causation. Mr. Dobbins of TSSA testified:
                 Q. Well, you’re only looking for the condition, the various
                    conditions that you observed. Correct?
                 A. Correct.
                                           * * *
                 Q. You do not determine causation of a condition?
                 A. Correct.

  Exh. “E” at p. 32, ln. 5-7, 21-22. Accordingly, Mr. Norcia’s opinions on windows and
  sliding glass doors as to what was, or was not, damaged by the hurricane are based on
  conjecture, not competent evidence. Therefore, his estimate is completely arbitrary as
  he is not personally qualified to testify regarding the cause of purported damage and the
  testimony of those upon whom he relied refutes his basic assumptions.
     IV. Should the Court require additional information from the witness, a Daubert
           style hearing is appropriate and should be ordered.

         QBE acknowledges that a district court has discretion in whether to conduct a
  Daubert style hearing or make a decision based upon the written record before the
  court. United States v. Robertson 387 F. 3d. 702 (8th Cir. 2004) and Kerrigan v. ABB
  Power T&D Co. 267 F. Supp. 2d 703 (E.D. Mich 2003). Should the Court find that the



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  record does not clearly indicate Mr. Norcia’s opinions and bases for same, or lack
  thereof, QBE would respectfully request that an evidentiary hearing be conducted
  wherein the Court and counsel can examine Mr. Norcia regarding the matters
  challenged herein.
     V. Conclusion and Relief

         Mr. Norcia’s opinions are based not on his own expertise, but rather on the
  purported expertise of others. His methodology is unreliable, he has no basis for the
  scope of damage presented in his estimates, and no personal knowledge which
  supports his determination of what items should be repaired and/or replaced.
  Accordingly, he should be precluded from presenting opinion testimony regarding
  causation and the extent of damage to the items listed in his estimates.                                     In the
  alternative, QBE respectfully requests a Daubert hearing on the admissibility of his
  testimony.
         WHEREFORE Defendant QBE INSURANCE CORPORATION respectfully
  requests this Honorable Court enter an Order Limiting Paul Norcia’s testimony as stated
  herein, or alternatively order a Daubert hearing, and grant such further relief as this
  Court deems just and proper.


               CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(A)(3)
         Defendant hereby certifies that it has complied with Local Rule 7.1(A)(3) by
  consulting with Plaintiff’s counsel via telephone. Plaintiff’s counsel stated he opposes
  the relief sought herein.


                               CERTIFICATE OF SERVICE
  I hereby certify that on January 19, 2012, I electronically filed the foregoing document
  with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is
  being served this day on all counsel of record or pro se parties identified on the List
  below in the manner specified, either via transmission of Notices of Electronic Filing
  generated by CM/ECF or in some other authorized manner for those counsel or parties
  who are not authorized to receive electronically Notices of Electronic Filing.

                                                                        /s/ Evelyn M. Merchant
                                                                        Evelyn M. Merchant



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